Case 2:03-cr-20249-SH|\/| Document 135 Filed 05/17/05 Page 1 of 2 Page|D 181

 

IN THE UNITED STATES DISTRICT COURT HWGPLMQ umw"wgg
FoR THE: wEsTERN DISTRICT oF TENNESSEE w ' .
wEsTERN DIVIsIoN 95 Hf*.§ |7 PM |: 145

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aaa W.J$£CL
w *N,MEMWMS

 

UNITED STATES OF AMERICA,
Plaintiff,
vs.

CR. NO. 03~20249-Ma

ANTHON'Y PAUL SHAW ,

~._/~__/~._¢\_/\_/~__/-_/\_/~_!

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

rI‘his cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p-m.

The period fronl March. 25, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § BlGl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this r?)i` day of May, 2005.

SAIVIUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

